Case 2:12-cv-07925-ABC-SH Document 36-5 Filed 09/16/13 Page 1 of 10 Page ID #:410



     1   Robert S. Besser (SBN 46541)
         Christopher Chapin (SBN 112608)
     2   LAW OFFICES OF ROBERT S. BESSER
         1221 Second Street, Suite 300
     3   Santa Monica, California 90401
         TEL: (310) 394-6611
     4   Fax:   (310) 394-6613
         rsbesser@aol.com
     5   christopherchapin@aol.com

     6   Attorneys for Defendant
         CBS STUDIOS INC.
     7

     8                                    UNITED STATES DISTRICT COURT

     9                                  CENTRAL DISTRICT OF CALIFORNIA

    10

    11   DELRAY RICHARDSON p/k/a DELRAY                                 Case No. CV12-7925 ABC (SHx)
         d/b/a DEL FUNK BOY MUSIC, an                                   Honorable Audrey B. Collins
    12   individual, and STERLING A.
         SYNDER d/b/a/ ZION RECORDS,
    13   an individual,                                                 OBJECTIONS TO AND MOTION TO
                                                                        STRIKE PORTIONS OF THE
    14                             Plaintiffs,                          DECLARATION OF DELRAY
         vs.                                                            RICHARDSON OPPOSING MOTION
    15                                                                  FOR SUMMARY JUDGMENT
         CBS STUDIOS INC., d/b/a CBS
    16   TELEVISION DISTRIBUTION, a division
         of CBS CORPORATION, a Delaware
    17   corporation,

    18                  Defendants.                                          Date:        September 30, 2013
         __________________________________/                                 Time:        10:00 a.m.
    19                                                                       Ctrm:        680
                                                                                          Roybal Building
    20

    21           Defendant CBS STUDIOS INC. (“CBS”) makes the following

    22   objections and moves to strike the following portions of the

    23   Declaration of Delray Richardson in Support of Opposition to

    24   Defendant’s Motion for Summary Judgment:

    25

    26
                                                                 -1-
    27   _____________________________________________________________________________________________________________________
                          OBJECTIONS TO AND MOTION TO STRIKE PORTIONS OF
    28                             THE DECLARATION OF DELRAY RICHARDSON
Case 2:12-cv-07925-ABC-SH Document 36-5 Filed 09/16/13 Page 2 of 10 Page ID #:411



     1                                DECLARATION OF DELRAY RICHARDSON

     2   Paragraph “B”

     3           Plaintiff Delray Richardson (“Richardson”) states only that

     4   he has “personal knowledge of the facts which bear on this

     5   Motion.”         He does not say that he has personal knowledge of the

     6   facts stated in his declaration.1

     7                    FRCP 56 (c)(4) states: “An affidavit or

     8           declaration used to support or oppose a motion must be

     9           made on personal knowledge, set out facts that would be

    10           admissible in evidence, and show that the affiant or

    11           declarant is competent to testify on the matters

    12           stated.”

    13           FRE 602 requires that a testifying witness have personal

    14   knowledge of the matter testified to.

    15           Statements of mere belief in an affidavit must be

    16   disregarded. Rule 56(e) also requires that copies of all papers

    17   or parts thereof referred to in an affidavit be attached thereto

    18   or served therewith. To enforce this rule, the court ordinarily

    19   does not strike affidavits, but simply disregards those portions

    20   that are not shown to be based upon personal knowledge or

    21   otherwise do not comply with Rule 56(e). Stevens v. Water Dist.

    22   One, 561 F. Supp. 2d 1224, 1231 (D. Kan. 2008).

    23
                 1
    24            Unless otherwise noted, Defendant seeks to strike the
         entirety of each paragraph of the Richardson Declaration that it
    25   has identified herein and any “exhibit” that is referenced
         therein.
    26
                                                                 -2-
    27   _____________________________________________________________________________________________________________________
                          OBJECTIONS TO AND MOTION TO STRIKE PORTIONS OF
    28                             THE DECLARATION OF DELRAY RICHARDSON
Case 2:12-cv-07925-ABC-SH Document 36-5 Filed 09/16/13 Page 3 of 10 Page ID #:412



     1           Richardson’s testimony is for the most part not admissible

     2   and for an even greater part, not even relevant.                                          Each specific

     3   objection is set forth below.

     4   Paragraph C 2 and Exhibit 1.

     5           Irrelevant; FRE 403.                    Except that it one more time shows

     6   that Richardson and Jeeve worked as equal co-writers.

     7   Paragraph C 3 and Exhibit 2.

     8           Irrelevant; FRE 403: The fact that Richardson previously

     9   sued Jean-Yves Ducornet (“Jeeve”) in small claims court has no

    10   possible relevance to claims for copyright infringement.

    11           Inadmissible Compromise Offers and Negotiations; FRE

    12   408(a)(1) and (2):

    13           Richardson may not use evidence of settlement proceedings

    14   either to prove or disprove the validity of a disputed claim.

    15           Not Authenticated; FRE 901

    16           If documents are to be authenticated through personal

    17   knowledge to support a summary judgment motion, the proponent of

    18   the documents must attach them "to an affidavit that meets the

    19   requirements of FRCP 56(e) and the affiant must be a person

    20   through whom the exhibits could be admitted into evidence."

    21   Canada v. Blain's Helicopters, Inc., 831 F.2d 920, 925 (9th Cir.

    22   1987); see also Orr v. Bank of America, NT & SA, 285 F.3d 764,

    23   775, 774, n. 8 (9th Cir. 2002)("A document can be authenticated

    24   under rule 901(b)(1) by a witness who wrote it, signed it, used

    25   it, or saw others do so.") (quoting 31 Wright & Gold, Federal

    26
                                                                 -3-
    27   _____________________________________________________________________________________________________________________
                          OBJECTIONS TO AND MOTION TO STRIKE PORTIONS OF
    28                             THE DECLARATION OF DELRAY RICHARDSON
Case 2:12-cv-07925-ABC-SH Document 36-5 Filed 09/16/13 Page 4 of 10 Page ID #:413



     1   Practice & Procedure: Evidence § 7106, 43 (2000)).

     2           A proper foundation also may be established through means

     3   other than personal knowledge, including any of the means

     4   included in FRE 901 or permitted as self-authenticating by FRE

     5   902 if the proper certification is affixed to the document. See

     6   FRE 902.

     7           Richardson nowhere explains what his exhibits actually are,

     8   let alone authenticate them.                         He simply inserts a number

     9   referring to one of his attached exhibits.                                     Richardson fails to

    10   state that the exhibits are “true and correct copies” of what

    11   they purport to be – nor does he explain why several of the

    12   exhibits are obviously incomplete.

    13   Paragraph C. 4

    14           Irrelevant; FRE 403

    15           Inadmissible hearsay; FRE 801(c)

    16   Paragraphs C. 5 and 6; Exhibit 3 and 4

    17           The entirety of Paragraphs 5 and 6 are inadmissible hearsay,

    18   FRE 801(c).            Whatever Jeeve said out of court, since it is

    19   offered to prove the truth of what Jeeve believed, is

    20   inadmissible “opinion within hearsay.”                                  It is therefore

    21   prohibited by FRE 701.

    22           In addition, the attached copies of alleged emails from

    23   Jeeve to Richardson are not authenticated (Exhibits 3 and 4). FRE

    24   901.

    25

    26
                                                                 -4-
    27   _____________________________________________________________________________________________________________________
                          OBJECTIONS TO AND MOTION TO STRIKE PORTIONS OF
    28                             THE DECLARATION OF DELRAY RICHARDSON
Case 2:12-cv-07925-ABC-SH Document 36-5 Filed 09/16/13 Page 5 of 10 Page ID #:414



     1   Paragraph C. 7

     2           Inadmissible opinion testimony; FRE 701

     3           Contains impermissible legal assertions and conclusions

     4   Paragraphs C. 8 and 9

     5           Inadmissible opinion testimony; FRE 701

     6           Irrelevant; FRE 403

     7           Contains legal conclusions

     8   Paragraph 10

     9           Irrelevant; FRE 403

    10           Inadmissible hearsay; FRE 801(c)

    11   Paragraphs 11 through 14 and Exhibits 6 through 11

    12           The entireties of all paragraphs and exhibits referred to

    13   therein consist of inadmissible hearsay; FRE 403

    14           Exhibits 6 through 11 are also not authenticated; FRE 901

    15   Paragraph 15

    16           First two sentences are inadmissible, immaterial and

    17   irrelevant hearsay; FRE 801(c) and 403.                                  Third sentence is

    18   conclusory, unsupported and inadmissible opinion; FRE 701.

    19   Paragraphs 16 through 19 and Exhibits 12 through 15

    20           The entireties of all paragraphs and exhibits referred to

    21   therein consist of inadmissible hearsay; FRE 403

    22           Exhibits 12 through 15 are also not authenticated; FRE 901

    23   Paragraph 20

    24           Inadmissible hearsay; FRE 801(c)

    25

    26
                                                                 -5-
    27   _____________________________________________________________________________________________________________________
                          OBJECTIONS TO AND MOTION TO STRIKE PORTIONS OF
    28                             THE DECLARATION OF DELRAY RICHARDSON
Case 2:12-cv-07925-ABC-SH Document 36-5 Filed 09/16/13 Page 6 of 10 Page ID #:415



     1   Paragraph 21

     2           Exhibit 16 is incomplete (FRE 106), obviously missing many

     3   pages, and there is no explanation contained anywhere in

     4   Richardson’s Declaration for the exclusion of pages from a

     5   document he claims he got from opposing counsel.

     6   Paragraphs 22 through 25 and Exhibit 17

     7           Each paragraph consists almost entirely of inadmissible

     8   hearsay, FRE 801(c).

     9                    Specifically, Paragraph 22 refers to a “letter dated

    10   August 16, 2012 the Defendant counsel stated in a correspondence

    11   with the plaintiffs that ‘Love You So’: ‘This instrumental was

    12   not used in episodes 105 and 109 as Mr. Richardson is claiming.’”

    13   No copy of any such letter is attached.

    14                    Paragraph 24 refers to a cue sheet from Episode 1410

    15   allegedly provided by Defendant “in discovery.”                                         There is no cue

    16   sheet for Episode 1401 attached.

    17                    Paragraph 25 refers to a cue sheet from Episode 807 and

    18   1307.       Neither is attached.                    Exhibit 17 is an unauthenticated

    19   copy of what purports to be a “Mechanical License Agreement”

    20   between Plaintiffs Richardson and Snyder, which is irrelevant to

    21   the issues.            FRE 403.

    22   Paragraphs 26 through 28

    23           Again, the statements made in these paragraphs are not only

    24   confusing, but represent nothing that could create an issue of

    25   material fact such as to defeat a motion for summary judgment.

    26
                                                                 -6-
    27   _____________________________________________________________________________________________________________________
                          OBJECTIONS TO AND MOTION TO STRIKE PORTIONS OF
    28                             THE DECLARATION OF DELRAY RICHARDSON
Case 2:12-cv-07925-ABC-SH Document 36-5 Filed 09/16/13 Page 7 of 10 Page ID #:416



     1   Paragraphs 29 through 36

     2           Once again, none of the documents referred to are attached

     3   to the declaration.                  Mr. Richardson claims to have watched

     4   episodes of ANTM on broadcast television (the Style Network) and

     5   heard certain songs played at certain times.                                       At the very least,

     6   such testimony about “viewing time” does not take into

     7   consideration the fact that commercials are broadcast within the

     8   one hour episode.                Therefore, all testimony about watching

     9   episodes of ANTM on Style Network is inadmissible hearsay, FRE

    10   801(c) and totally irrelevant, FRE 403.

    11   Paragraph 37

    12           No objection.

    13   Paragraphs 38 through 44 and Exhibits

    14           Improper argument without a stated factual basis

    15           Inadmissible hearsay; FRE 801(c)

    16           Paragraph 40 makes reference to an Exhibit 18, but there is

    17   no Exhibit 18 attached.

    18   Paragraph 45

    19           Richardson claims to have evidence “the Defendants provided

    20   testimony during their deposition that later turned out to be

    21   either misleading or completely and intentionally false. . . .

    22   The depositions will be presented at trial.”

    23           This is completely improper under FRCP 56 which requires

    24   that parties cannot hold back evidence to defeat a motion for

    25   summary judgment. Cartwright v. Cooney, 2013 U.S. Dist. LEXIS

    26
                                                                 -7-
    27   _____________________________________________________________________________________________________________________
                          OBJECTIONS TO AND MOTION TO STRIKE PORTIONS OF
    28                             THE DECLARATION OF DELRAY RICHARDSON
Case 2:12-cv-07925-ABC-SH Document 36-5 Filed 09/16/13 Page 8 of 10 Page ID #:417



     1   30115 at *7 and *13 (ND Ill. 2013).

     2           In truth, Plaintiffs never took any depositions.                                           Besser

     3   Decl., ¶ 10.            Perhaps Plaintiffs, because of their in pro per

     4   status, somehow do not understand the difference between

     5   depositions and answers to interrogatories.                                      Either way,

     6   Plaintiffs cannot just claim they have “evidence . . . that later

     7   turned out to be either misleading . . . or false” and leave it

     8   at that.

     9   Paragraphs 46 through 47

    10           Exhibit 20 (first mentioned in Paragraph 46) which seems to

    11   be offered to show that Richardson and Jeeve would never license

    12   one of their works without the other knowing, is insufficient to

    13   show even that. It is irrelevant, unauthenticated and contains

    14   inadmissible hearsay.                    FRE 403, 901, 801(c).

    15           The rest of the statements in Paragraph 47 lack foundation,

    16   are unauthenticated and constitute inadmissible hearsay. FRE

    17   801(c).

    18   Paragraph 48

    19           This testimony is contradictory to Mr. Richardson’s

    20   deposition testimony.                    He said he did not have a duplicate of the

    21   original CD he deposited with the Copyright Offices, but had

    22   created one when asked for the original in discovery.                                              Deposition

    23   of Delray Richardson, pp. 20-21.

    24

    25

    26
                                                                 -8-
    27   _____________________________________________________________________________________________________________________
                          OBJECTIONS TO AND MOTION TO STRIKE PORTIONS OF
    28                             THE DECLARATION OF DELRAY RICHARDSON
Case 2:12-cv-07925-ABC-SH Document 36-5 Filed 09/16/13 Page 9 of 10 Page ID #:418



     1   Paragraph 49

     2           To whatever fact this is intended to pertain, stating that “

     3   Mr. Ducornet lied in his Declaration . . . . In Mr. Ducornet’s

     4   email he wrote . . .” is unauthenticated inadmissible hearsay.

     5   Respectfully submitted,
         Dated: September 16, 2013
     6
         LAW OFFICES OF ROBERT S. BESSER
     7

     8   By:   /s/ Robert S. Besser
             ROBERT S. BESSER
     9   Attorneys for Defendant
         CBS STUDIOS INC.
    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

    26
                                                                 -9-
    27   _____________________________________________________________________________________________________________________
                          OBJECTIONS TO AND MOTION TO STRIKE PORTIONS OF
    28                             THE DECLARATION OF DELRAY RICHARDSON
Case 2:12-cv-07925-ABC-SH Document 36-5 Filed 09/16/13 Page 10 of 10 Page ID #:419



     1                                         CERTIFICATE OF SERVICE

     2   STATE OF CALIFORNIA:

     3   COUNTY OF LOS ANGELES:

     4        I am a member of the Bar of the State of California. I am
         over the age of 18 and not a party to the within action. My
     5   business address is 1221 Second Street, Suite 300, Santa Monica,
         California 90401.
     6
              On this date, I served the foregoing document described as
     7   OBJECTIONS AND MOTION TO STRIKE PORTIONS OF DECLARATION OF DELRAY
         RICHARDSON on all interested parties in this action by:
     8
         [XX] BY MAIL: placing a true and correct copy thereof enclosed
     9   in a sealed envelope with postage fully pre-paid and addressed as
         follows:
    10
                                         Delray Richardson, In Pro Per
    11                                  Sterling A. Snyder, In Pro Per
                                          2191 East 21st Street Box K
    12                                       Signal Hill, CA 90755

    13        I am aware that on motion of the party served, service is
         presumed invalid if the postal cancellation date or postage meter
    14   date is more than one day after the date of deposit stated in
         this affidavit.
    15
              I declare under penalty of perjury under the laws of the
    16   United States that the foregoing is true and correct. Executed
         on September 16, 2013, at San Rafael, California.
    17
                                                                         /s/ Christopher Chapin
    18                                                                  CHRISTOPHER CHAPIN

    19

    20

    21

    22

    23

    24

    25

    26
                                                                -10-
    27   _____________________________________________________________________________________________________________________
                          OBJECTIONS TO AND MOTION TO STRIKE PORTIONS OF
    28                             THE DECLARATION OF DELRAY RICHARDSON
